Case 3:16-md-02741-VC    Document 8572-21 Filed 12/27/19 Page 1 of 11
              REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED




            EXHIBIT 20
    Case 3:16-md-02741-VC    Document 8572-21 Filed 12/27/19 Page 2 of 11
                  REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED




                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA

IN RE: ROUNDUP PRODUCTS                MDLNo. 2741
LIABILITY LITIGATION
                                       Case No. 16-md-02741-VC

This document relates to:
Hardeman v. Monsanto (3:16-cv-525)




                            EXPERT REPORT OF

                             DR. CHADI NABHAN
       Case 3:16-md-02741-VC Document 8572-21 Filed 12/27/19 Page 3 of 11
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED




Official Report
Date 11/20/2018

Hardeman V. Monsanto

Prepared by: Chadi Nabhan, MD, MBA, FACP.

Prepared for: Kathryn Forgie, Esq.



   •   Mr. Hardeman was born |                                     I. He is    years of age as of the
       time this report is written

   •   On 12/26/2014 ■ ■ ■ |              Mr. Hardeman was seen by Dr. Todd for "swollen glands".
       He was found to have enlarged lymph nodes in the anterior cervical and submandibular areas.
       Initially, he was observed.

   •   Due to persistent adenopathy, he was referred to a surgeon (Dr. Turley) on 01/28/2015 where
       he underwent a fine needle aspiration that initially suggested a necrotic neoplasm. This was
       essentially non-diagnostic.

   •   On 02/06/2015, Mr. Hardeman underwent an open excisional biopsy of one of these enlarged
       nodes. The final pathology confirmed diffuse large B-cell lymphoma (DLBCL). Additional staining
       studies showed MUM-1 and BCL-6 positivity, negative arrangements for MYCand BCL-2, EBER-
       negativity, and KI-67 at 80%. DLBCL is an aggressive form of NHL that is fatal if not treated.
       Treatment of DLBCL is dependent on its stage, patient age, co morbidities, and goals of care.

           o   The staining of MUM-1 and BCL 6 positivity confirms that his DLBCL is of the non
               germinal center origin (non-GCB). This subtype has been associated with inferior overall
               survival, faster progression, and overall worse prognosis compared with the GCB
               subtype (Scott, DW, J Clin Oncol; Vol 33 (26); 2848-2856; 2015), (Alizodeh AA, Nature;
               Vol 403 (6769); 503-511; 2000)

           o   Several studies have explored the prognostic value of KI-67 expression. Most experts
               agree that high KI-67 expression implies adverse prognosis. Example of such study is one
               that has shown KI-67 > 80% leads to inferior overall survival (OS) and progression-free
               survival (PFS). (Gaudio F et al; Acta Haematol; Vol 126 (1); 44 51; 2011). While some
               studies did not confirm that KI67 has a prognostic significance, the National
               Comprehensive Cancer Network (NCCN) guidelines considers KI67 staining as an
               essential part of the initial pathologic diagnosis for DLBCL underscoring its importance
               (htlp://oncolife.com.ua/doc/nccn/B-Cell Lymphomas.pdf).

   •   Additional staging studies (PET-scan and bone marrow biopsy) confirmed stage MIA disease.
          o Staging of DLBCL is used to determine the extent of the disease throughout the patient7s
               body. Stage III signifies advanced stage with presence of lymph nodes on both sides of
               the diaphragm. The bone marrow biopsy was negative. The letter A after III means that



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    Case 3:16-md-02741-VC    Document 8572-21 Filed 12/27/19 Page 4 of 11
                  REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED




            the patient did not have any fevers, drenching night sweats, or unintentional weight loss
            at the time of his diagnosis.
•   The International Prognostic Index (IPI) at the time of diagnosis was 2, meaning that Mr.
    Hardeman had low-intermediate risk score based on clinical factors.

        o   The IPI has been used by clinicians since 1993 when a publication demonstrated that 5
            clinical factors separate DLBCL patients into low, low-intermediate, high-intermediate,
            and high-risk disease. These factors are: age >60, advanced stage, more than one extra-
            nodal site of disease, poor performance status at diagnosis, and elevated LDH (blood
            test that suggests high volume disease when elevated). Mr. Hardeman had 2 of these 5
            factors (age >60 and advanced stage disease). [N Engl J Med; Vol 329 (14); 987-994;
            1993).

•   Mr. Hardeman was started on chemotherapy on 2/24/2015. He received his first cycle of
    rituximab, cyclophosphamide, vincristine, Adriamycin, and prednisone (R-CHOP). The plan was
    to administer a total of 6 cycles of therapy with a curative intent of his DLBCL. Rituximab is an
    antibody against CD20, which is a protein that is highly expressed on the malignant DLBCL cells.
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    Accordingly, he was treated with lamivudine daily as a therapy to prevent possible reactivation.
    This concomitant therapy is a standard of care in any lymphoma patients with prior exposure
    who will receive rituximab therapy.

•   On 4/6/2015, the decision was made to reduce the dose of R-CHOP due to the patient
    developing neutropenic fever (fever in the presence of very low white blood cell counts and
    neutrophils), a known complication of chemotherapy.

•   Mr. Hardeman received the 4th cycle of R-CHOP chemotherapy on 04/28/2015

•   Mr. Hardeman completed the final and 6,h cycle of R-CHOP on 06/09/2015



•   Side effects from the chemotherapy while receiving it included nausea, vomiting, fatigue,
    chemo-brain, and significant bone pain as a result from the use if growth factors after
    chemotherapy. Growth factors are usually used to diminish the risk of patients developing
    neutropenic fever and potential infections.

•   Mr. Hardeman underwent a PET-Scan on 07/13/2015 to assess for response after completion of
    therapy. There was no evidence of increased uptake, confirming that he was in metabolic
    complete remission. He remains in remission and his next oncology follow-up appointment is
    scheduled on 1/16/2019. He is also scheduled for a CT-Scan in March 2019.




                                                                                                    2
    Case 3:16-md-02741-VC    Document 8572-21 Filed 12/27/19 Page 5 of 11
                  REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED




•   In investigating the etiology and what caused Mr. Hardeman's DLBCL, one must look carefully at
    his history, assess potential risk factors, and then determine possible contributing elements, if
    any, to him developing this disease.

•   There are several known risk factors to patients developing non-Hodgkin lymphoma (NHL) in
    general and DLBCL in particular.

•   It is important to note that the majority of DLBCL and NHL patients have no known causes for
    their disease. Physicians would label that as "unknown cause" or "idiopathic". Having said that,
    there are situations where the causes could be explored and ascertained and accordingly, a
    comprehensive evaluation is needed in every patient to attempt identifying the possibility of
    causative factors where the case is not idiopathic.



                                  <■■■■                    which is similar to median age of DLBCL
    patients at diagnosis in the US. This however, does not eliminate the possibility of certain
    causative factors to his disease. In fact, part of any history and physical is asking all patients
    about risk factors, exposure, family history, occupational hazards, and other elements of their
    life style. This exercise, which is a standard of care in medical practice, is performed to reveal
    any potential modifiable risk factors, which if eliminated could have substantial impact on the
    disease course and prognosis.

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Case 3:16-md-02741-VC    Document 8572-21 Filed 12/27/19 Page 6 of 11
              REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED




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    Case 3:16-md-02741-VC    Document 8572-21 Filed 12/27/19 Page 7 of 11
                  REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED




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•   Exposure to pesticides has been linked to development of NHL. There are several reports that
    confirm this association and the majority of cancer centers as well as the American Cancer
    Society list pesticides exposure as a known risk factor to developing NHL
    (https://www.cancer.org/cancer/non-hodKkin-lvmphoma/causes-risks-oreventioii/risk-
    factors.html) (https://mv.clevelanclclinic.org/health/diseases/15662-adult-non-hodpj<ins-
    Ivmphoma) Also, Schinasi and Leon performed a systematic review and a Meta-Analysis to
    better understand the association between agricultural pesticide chemical groups and NHL
    development. The search included articles published in English since 1980 until 2014. When
    repeated papers were reviewed, the one with the most complete and updated analysis was
    used. Starting with 858 articles, 44 only were included in the qualitative analysis and of these, 20
    papers provided estimates of association with herbicide chemical groups or active ingredients, 4
    provided association with fungicides, and 17 with insecticides. Of the included papers, several
    had specific data on glyphosate (McDuffie et al 2001; Hardell et at 2002; De Roos et al, 2003; De
    Rods et al, 2005; Eriksson et al, 2008; and Orsi et al, 2009). The studies that were analyzed in
    this Meta-Analysis were performed in the US, Canada, Europe, Australia, and New Zealand. This
    Meta-Analysis found an association between glyphosate and B-cell lymphoma with an OR 2.0
    (95% Cl: 1.1-3.6) and this was the same OR for DLBCL. This Meta-Analysis represented a
    summary of the data published in the preceding 25 years. It confirmed a plausible association
    between glyphosate and NHL evolution and development.


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    Case 3:16-md-02741-VC    Document 8572-21 Filed 12/27/19 Page 8 of 11
                  REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED




•   During my meeting with him, Mr. Hardeman stated that he has been exposed to
    RoundUp/Glyphosate since 1988. His exposure was essentially for residential use. He initially
    learned about RoundUp from a landscaper that helped him maintain his property that he owned
    between 1985-1988. He then bought a large property (56 acres) in 1988 and used RoundUp
    himself to spray. Between 1988-2012, he sprayed biweekly using a pump-up and hand sprayer.
    He would spend about 2 hours spraying every time he did so. Essentially, he would spray 4
    hours/month for about 7 months every year, as he did not spray during winter months. On
    12/31/2012, he sold that property and moved to a residential area where he did not need to
    spray. He did not wear protective gears, gloves, or goggles. He mixed the RoundUp himself and
    commented that occasionally, he gets mists on his face when using the compound especially on
    windy days. It appears that Mr. Hardeman used RoundUp/Glyphosate consistently for 25 years
    (1988-2013) and that his use slowed down but continued between 2013-2015.



•   This exposure to Roundup/glyphosate, a known pesticide, is important in view of literature that
    links glyphosate to NHL. I have personally evaluated epidemiologic studies published on the
    topic and how they correlate clinically on patients diagnosed with lymphoma.

        o   In March 2015, the International Agency of Research on Cancer (IARC) classified
            glyphosate as a probable human carcinogen (class 2A) after thorough, independent, and
            rigorous investigation by independent researchers and investigators in the field. IARC is
            a division of the World Health Organization (WHO) (lntps://www.iarc.fr/), established in
            1965 as an independent body to assess potential human hazards that can cause cancer.
            For IARC to evaluate a substance as a potential carcinogen, such substance must have
            ubiquitous human exposure and there must be some preliminary data to suggest a
            potential harm and carcinogenicity.

        o   As of the last update on 07/30/2018, IARC had evaluated 1,006 substances since its
            inception. This shows the high selectivity of IARC in deciding which substance to
            evaluate. Of these, only 20% were classified as either group 1 (human carcinogens) or
            2A (probable human carcinogens) (https://monographs.iarc.fr/agents-classified-by-the-
            larc,

        o   IARC reviews peer-reviewed published literature including epidemiologic studies, animal
            data, and genotoxicity studies. In addition, IARC assesses plausible mechanisms of
            action for possible carcinogenicity of the studied compound. Some of the studies that I
            have reviewed, analyzed, and assessed, which were also included in the IARC report are
            summarized below:

                n   One epidemiologic study was published by McDuffie et al (Cancer Epidemiology,
                    Biomarkers, and Prevention; Vol. 10,1155-1163, November 2001) where 517
                    cases and 1506 controls were included. The risk of NHL was statistically
                    significantly increased among glyphosate exposed individuals more than two
                    days per year with an OR of 2.12 (95% Cl: 1.20-3.73). This doubling of the risk
                    was statistically significant.




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Case 3:16-md-02741-VC    Document 8572-21 Filed 12/27/19 Page 9 of 11
              REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED




         *   Another analyzed study was published by DeRoos et al in 2003 IQccup Environ
             Med. 2003 Sep; 60 (9): Ell.) where 650 cases and 1933 controls were evaluated.
             The OR for glyphosate increasing the risk of developing NHL was 2.1 (95% Cl:
             1.1-4.0). This doubling of the risk was statistically significant. The authors of this
             study performed a hierarchical regression analysis, which reduced the OR to 1.6
             (95% Cl: 0.9-2.8), however the hierarchal regression in this study has its own
             limitations that question its findings in my opinion. First, logistic regression is
             what we almost always used clinically because the hierarchical model makes a
             number of assumptions that get incorporated into the final estimates, but the
             accuracy of the output is contingent on the assumptions included in the model.
             In this paper, DeRoos et al gave glyphosate a "carcinogenicity rating" of 0.3. This
             rating would be inaccurate if we are to perform the modeling today. According
             to DeRoos et al, a weighting factor of 0.6 should be given to any substance that
             is found by IARC to be probably carcinogenic to humans. If the new assumption
             is applied to the model, the output of the hierarchical regression would likely
             change. This modeling also assumed that all agents/herbicides studied have the
             same effect on NHL, however we do not know if this is the case nor do we have
             data that these other pesticides are indeed causing NHL to be properly included
             in the model. Lastly, the OR of 1.6 that is found in the hierarchal regression is
             actually in line with ORs that are found in other studies such as the meta­
             analysis that I describe above. In my assessment as a clinician and researcher, I
             do not believe that the findings of the hierarchail regression negate the risk
             identified and confirmed in the logistic regression performed by the authors.

         B   Eriksson et al (Int J Cancer; 2008; Oct 1; 123 (7); 1657-1663) reported on 910
             cases and 1016 controls and showed an OR of 2.36 (95% Cl: 1.04-5.37) for
             developing NHL in individuals exposed to glyphosate more than 10 days in their
             lifetime. This study also shows that more exposure leads to higher risk similar to
             the McDuffie et al paper summarized above.

         ■   The IARC report included the preliminary data of the Agricultural Health Study
             (AHS) (https://aghealtli.nih.gov/), which was initially published by DeRoos et al
             in 2005 and found no association between glyphosate and NHL. The AHS is a
             prospective study that enrolled commercial pesticide applicators from Iowa and
             North Carolina and in the mid-1990s, and who were followed prospectively with
             repeated questionnaires. The study was updated in 2018 (Andreotti et al; JNCI)
             where it found no association between glyphosate and NHL. I have analyzed this
             study personally and evaluated the methodologies. This study suffered several
             critical flaws, including, but not limited to, the dropout rate where almost 40%
             of participants lost to follow up and the fact that the control arm was farmers,
             an occupation established as a known risk factor for NHL, making it rather
             difficult to show increased risk for the glyphosate arm given the controls.
             Despite the imputation method that was applied by the authors, the 40%
             dropout rate is substantial and cannot be ignored. Also, enrollees who
             completed the questionnaire during their follow up were required to describe
             their exposure during the "one year immediately prior to filling the
             questionnaire". Clearly, this is a major limitation that underestimates exposures
             for some of these respondents.

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    Case 3:16-md-02741-VC    Document 8572-21 Filed 12/27/19 Page 10 of 11
                   REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED




         o   Group 2A (probable) is the highest level of evidence short of a "definitive association",
             which is best established with randomized controlled study. Such study would be
             unethical as it exposes patients to a potentially harmful and probable carcinogenic
             agent.

         o   The results of the IARC investigation were published in the Lancet Oncology in May 2015
             by Guyton et al (httpsV/www.tlielancet.com/iournals/lanonc/article/PIISMyO
             2045(15)70134-8/fulltext).



         o    Epidemiologic studies were unable to look at subtypes of NHL when assessing
             epidemiologic causation. This is understandable as the classification of NHL has evolved
             over the years and there are many new subtypes that have been recognized that were
             not known in the late 1990s or early 2000s. The latest classification for NHL was
             published in 2016 by Swerdlow et al
             (http://www.bloodiournal.org/content/bloodiournal/127/20/2375.full.Ddf) and in this
             classification, over 60 subtypes of B and T cell NHL have been identified. This shows that
             epidemiologic studies would rarely be able to investigate association between any
             occupational hazard and types of NHL. Add to this the rarity of PCNSL (1% of all NHLs),
             and we can conclude that studying epidemiologic evidence can be done for the entire
             disease category; in this instance NHL. Analogous to studying epidemiology of breast
             and prostate cancer. We study the epidemiology of these diseases in their totality even
             though we now recognize different subtypes of prostate and breast cancers.

•    Mr. Hardeman has been exposed to glyphosate in a manner that fits within the published
     epidemiologic literature and the studies where causation and an association between NHL and
     glyphosate have been demonstrated.



•    I met with Mr. Hardeman on Friday 11/16/2018.




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    He initially worked in finance after leaving the army. He then formed his own company with his
    wife and son, called (Bay World industries). He would help manufacture hardware to casinos
    and also do signage boards.
•   He lives currently with his wife; he has one adopted child.
•   His family history is negative for lymphomas. He is the youngest of 5 siblings.



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        Case 3:16-md-02741-VC    Document 8572-21 Filed 12/27/19 Page 11 of 11
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED




    •     I performed a brief physical examination.

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    •    In performing the differential diagnosis into what caused Mr. Hardeman's DLBCL, I conclude, to
         a reasonable degree of medical certainty, that his exposure to roundup/glyphosate is a
         substantial factor contributing to the development of his NHL.


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Signed



Chadi Nabhan, MD, MBA, FACP




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